 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 1 of 66 PageID #:10590




                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
                                           )      No. 1:19-CR-00669
                                           )
     v.                                    )
                                           )      Judge Edmond E. Chang
GREGG SMITH,                               )
MICHAEL NOWAK, and                         )
JEFFREY RUFFO.                             )
                                           )
           Defendants.                     )


                  REVISED JURY INSTRUCTIONS–COURT SET 1




                                       1
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 2 of 66 PageID #:10591




                         Functions of the Court and Jury

       Members of the jury, I will now instruct you on the law that you must follow
in deciding this case. I will also give each of you a copy of these instructions to use in
the jury room.

      You must follow all of my instructions about the law, even if you disagree with
them. This includes the instructions I gave you before the trial, any instructions I
gave you during the trial, and the instructions I am giving you now.

        As jurors, you have two duties. Your first duty is to decide the facts from the
evidence that you saw and heard here in court. This is your job, not my job or anyone
else’s job.

       Your second duty is to take the law as I give it to you, apply it to the facts, and,
as to each charge and each defendant named in each charge, decide if the government
has proved the defendant whom you are considering guilty beyond a reasonable
doubt.

       You must perform these duties fairly and impartially. Do not let sympathy,
prejudice, fear, or public opinion influence you. In addition, do not let any person’s
race, color, religion, national ancestry, or gender influence you.

      You must not take anything I said or did during the trial as indicating that I
have an opinion about the evidence or about what I think your verdict should be.




                                            2
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 3 of 66 PageID #:10592




                                   The Charges

     The charges against the defendants are in a document called an indictment.
You will have a copy of the indictment during your deliberations.

       The indictment in this case charges Defendants Gregg Smith, Michael Nowak,
and Jeffrey Ruffo with conspiracy to conduct or participate in the conduct of an en-
terprise engaged in a pattern of racketeering activity; and conspiracy to commit price
manipulation, wire fraud affecting a financial institution, commodities fraud, and
spoofing. The indictment also charges Mr. Smith and Mr. Nowak with attempted
price manipulation, wire fraud affecting a financial institution, commodities fraud,
and spoofing. The defendants have pled not guilty to the charges.

      The indictment is simply the formal way of telling the defendants what crimes
they are accused of committing. It is not evidence that the defendants are guilty. It
does not even raise a suspicion of guilt.




                                          3
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 4 of 66 PageID #:10593




                 Presumption of Innocence/Burden of Proof

       Each defendant is presumed innocent of each and every one of the charges
against him. This presumption continues throughout the case, including during your
deliberations. It is not overcome unless, from all the evidence in the case, you are
convinced beyond a reasonable doubt that the particular defendant you are consider-
ing is guilty as charged.

      The government has the burden of proving each defendant’s guilt beyond a
reasonable doubt. This burden of proof stays with the government throughout the
case.
      A defendant is never required to prove his innocence. He is not required to
produce any evidence at all.




                                         4
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 5 of 66 PageID #:10594




                                    The Evidence

      You must make your decision based only on the evidence that you saw and
heard here in court. Do not consider anything you have seen or heard outside of court,
including anything from the newspaper, television, radio, the Internet, social media,
text messages, emails, or any other source.

       The evidence includes only what the witnesses said when they were testifying
under oath, the exhibits that I allowed into evidence, and the stipulations that the
lawyers agreed to. A stipulation is an agreement that certain facts are true or that a
witness would have given certain testimony. In addition, you may recall that I took
judicial notice of certain facts that may be considered as matters of common
knowledge. You may accept those facts as proved, but you are not required to do so.

       Nothing else is evidence. The lawyers’ statements and arguments are not evi-
dence. If what a lawyer said is different from evidence as you remember it, the evi-
dence is what counts. The lawyers’ questions and objections likewise are not evidence.
A lawyer has a duty to object if he or she thinks a question is improper. If I sustained
objections to questions the lawyers asked, you must not speculate on what the an-
swers might have been.

       If, during the trial, I struck testimony or exhibits from the record, or told you
to disregard something, you must not consider it.




                                           5
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 6 of 66 PageID #:10595




                            Considering the Evidence

       Give the evidence whatever weight you decide it deserves. Use your common
sense in weighing the evidence, and consider the evidence in light of your own every-
day experience.

       People sometimes look at one fact and conclude from it that another fact exists.
This is called an inference. You are allowed to make reasonable inferences, so long as
they are based on the evidence.




                                          6
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 7 of 66 PageID #:10596




                      Direct and Circumstantial Evidence

      You may have heard the terms “direct evidence” and “circumstantial evidence.”
Direct evidence is evidence that directly proves a fact. Circumstantial evidence is ev-
idence that indirectly proves a fact.

       You are to consider both direct and circumstantial evidence. The law does not
say that one is better than the other. It is up to you to decide how much weight to
give to any evidence, whether direct or circumstantial.




                                          7
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 8 of 66 PageID #:10597




                             Number of Witnesses

        Do not make any decisions simply by counting the number of witnesses who
testified about a certain point.

       You may find the testimony of one witness or a few witnesses more persuasive
than the testimony of a larger number. You need not accept the testimony of the
larger number of witnesses.

     What is important is how truthful and accurate the witnesses were and how
much weight you think their testimony deserves.




                                        8
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 9 of 66 PageID #:10598




            Defendant’s Right Not to Testify or Present Evidence

      A defendant has an absolute right not to testify or present evidence. You may
not consider in any way the fact that a defendant did not testify or present evidence.
You should not even discuss it in your deliberations.




                                          9
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 10 of 66 PageID #:10599




                              Credibility of Witnesses

       Part of your job as jurors is to decide how believable each witness was, and how
much weight to give each witness’s testimony. You may accept all of what a witness
says, or part of it, or none of it.

      Some factors you may consider include:

             the intelligence of the witness;
             the witness’s ability and opportunity to see, hear, or know the things the
              witness testified about;
             the witness’s memory;
             the witness’s demeanor;
             whether the witness had any bias, prejudice, or other reason to lie or
              slant the testimony;
             the truthfulness and accuracy of the witness’s testimony in light of the
              other evidence presented; and
             inconsistent or consistent statements or conduct by the witness.




                                           10
Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 11 of 66 PageID #:10600




                      Attorney Interviewing Witnesses

     It is proper for an attorney to interview any witness in preparation for trial.




                                         11
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 12 of 66 PageID #:10601




                  Prior Inconsistent Statements—Witnesses

       You have heard evidence that before the trial, certain witnesses made state-
ments that may be inconsistent with their testimony here in court. You may consider
an inconsistent statement made before the trial only to help you decide how believa-
ble a witness’ testimony was during the trial here in court.

       If an earlier statement was made under oath, then you can also consider the
earlier statement as evidence of the truth of whatever the witness said in the earlier
statement.




                                         12
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 13 of 66 PageID #:10602




                      Witnesses Requiring Special Caution

       You have heard testimony from John Edmonds, Corey Flaum, and Christian
Trunz. They have received or expect to receive a benefit in return for their cooperation
with the government. Mr. Edmonds and Mr. Trunz have pled guilty to being involved
in some of the crimes that the defendants are charged with committing. Mr. Flaum
also pled guilty, but to separate charges. You may not consider any of those guilty
pleas as evidence against the defendants. Mr. Edmonds and Mr. Trunz also admitted
that they lied under oath during a deposition.

       You may give these witnesses’ testimony whatever weight you believe is ap-
propriate, keeping in mind that you must consider that testimony with caution and
great care.




                                          13
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 14 of 66 PageID #:10603




                  Character Evidence Regarding Defendant

       You have heard testimony about Defendant Gregg Smith’s character for telling
the truth. You should consider this testimony together with and in the same way you
consider the other evidence.




                                        14
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 15 of 66 PageID #:10604




                                Opinion Testimony

        You have heard from the following witnesses, who gave opinions and testi-
mony:

      John Scheerer, Robert Sniegowski, John Edmonds, Corey Flaum, Brian Wika,
Christian Trunz, Kumar Venkataraman, Robert Holdman, Daniel Fischel, and Jer-
emy Cusimano.

       You do not have to accept these witnesses’ opinions. You should judge the opin-
ions and testimony of each of these witnesses in the same way you judge the testi-
mony of any other witness. In deciding how much weight to give to these opinions and
testimony, you should consider how the witnesses reached their opinions or conclu-
sions, and the factors I have already described for determining the believability of
testimony.




                                         15
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 16 of 66 PageID #:10605




                             Recorded Conversations

      You have heard recorded conversations. This is proper evidence that you
should consider together with and in the same way you consider the other evidence.

       You were also given transcripts of the conversations to help you follow the re-
cordings as you listened to them. The recordings are the evidence of what was said
and who said it. The transcripts of the conversations are not evidence. If you noticed
any differences between what you heard in a recording and what you read in the
transcripts, your understanding of the recording is what matters. In other words, you
must rely on what you heard, not what you read. If you could not hear or understand
certain parts of a recording, you must ignore the transcripts as far as those parts are
concerned.

        I am providing you with the recordings and you will be able to listen to them
on an evidence display system, which I will show you. It is up to you to decide whether
to listen to a recording during your deliberations. You may, if you wish, rely on your
recollections of what you heard during the trial.

      If, during your deliberations, you wish to have another opportunity to view any
transcripts as you listen to the recordings, send me a written message through the
Court Security Officer and I will provide you with the transcripts.




                                          16
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 17 of 66 PageID #:10606




                       Summaries Received in Evidence

      Certain summaries and charts were admitted in evidence. You may use those
summaries as evidence. It is up to you to decide how much weight to give to the sum-
maries.




                                        17
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 18 of 66 PageID #:10607




      Demonstrative Summaries and Charts Not Received in Evidence

       During the trial, certain demonstrative materials such as charts, summaries,
or animations were shown to you to help explain other evidence that was admitted.
These materials are not themselves evidence or proof of any facts, so you will not have
these particular materials during your deliberations. If these demonstrative materi-
als do not correctly reflect the facts shown by the evidence, you should disregard them
and determine the facts from the underlying evidence.




                                          18
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 19 of 66 PageID #:10608




                                    Note-taking

       If you have taken notes during the trial, you may use them during delibera-
tions to help you remember what happened during the trial. You should use your
notes only as aids to your memory. The notes are not evidence. All of you should rely
on your independent recollection of the evidence, and you should not be unduly influ-
enced by the notes of other jurors. Notes are not entitled to any more weight than the
memory or impressions of each juror.




                                         19
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 20 of 66 PageID #:10609




                       Separate Consideration of Charges

       Each of the defendants has been accused of more than one crime. The number
of charges is not evidence of guilt and should not influence your decision.

       You must consider each charge and the evidence concerning each charge sepa-
rately. Your decision on one charge, whether it is not guilty or guilty, should not de-
termine your decision on any other charge.




                                          20
Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 21 of 66 PageID #:10610




                   Separate Consideration of Defendants

     Even though the defendants are being tried together, you must consider each
defendant, and the evidence concerning that defendant, separately. Your decision
concerning one defendant, whether it is guilty or not guilty, should not influence
your decision concerning any other defendant.




                                       21
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 22 of 66 PageID #:10611




                       Dates and Times of Crimes Charged


       The indictment charges that the crimes alleged happened “on or about” certain
dates and times. The government must prove that the crimes happened reasonably
close to the dates and times. The government is not required to prove that the crimes
happened on those exact dates and times.

       There is one modification to this instruction: later in these instructions, if I
instruct you that the government must prove that a particular act or charge happened
after a specified date, then that date is fixed and proof that the act or charge happened
“reasonably close” to the fixed date is not sufficient.




                                           22
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 23 of 66 PageID #:10612




                      Count One: Existence of Conspiracy


       Count One of the indictment charges the defendants with conspiracy. In order
for you to find the defendant you are considering guilty of this charge, the government
must prove both of the following elements beyond a reasonable doubt:

      1. The conspiracy as charged in Count One existed; and

      2. The defendant knowingly became a member of the conspiracy with an intent
to advance the conspiracy.

      If you find from your consideration of all the evidence that the government has
proved each of these elements beyond a reasonable doubt, then you should find the
defendant guilty. If, on the other hand, you find from your consideration of all the
evidence that the government has failed to prove any one of these elements beyond a
reasonable doubt, then you should find the defendant not guilty.




                                          23
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 24 of 66 PageID #:10613




  Count One: Conspiracy to Conduct or Participate in an Enterprise En-
              gaged in a Pattern of Racketeering Activity

      Count One of the indictment charges the defendants with conspiracy to commit
racketeering. In order for you to find the defendant you are considering guilty of this
charge, the government must prove each of the following three elements beyond a
reasonable doubt:

      1. the defendant knowingly conspired to conduct or participate in the conduct
         of the affairs of the JPMorgan Precious Metals Desk through a pattern of
         racketeering activity as described in Count One;
      2. the JPMorgan Precious Metals Desk was an enterprise; and
      3. the activities of the JPMorgan Precious Metals Desk would affect interstate
         commerce.

      If you find from your consideration of all the evidence that the government has
proved each of these elements beyond a reasonable doubt as to the defendant under
consideration, then you should find that defendant guilty.

      If, on the other hand, you find from your consideration of all the evidence that
the government has failed to prove any one of these elements beyond a reasonable
doubt as to the defendant under consideration, then you should find that defendant
not guilty.

      I will now define in more detail the elements I have just described.




                                          24
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 25 of 66 PageID #:10614




                            Definition of Conspiracy


       A “conspiracy” is an express or implied agreement between two or more per-
sons to commit a crime. A conspiracy may be proven even if its goals were not accom-
plished. In deciding whether the charged conspiracy existed, you may consider all of
the circumstances, including the words and acts of each of the alleged participants.




                                        25
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 26 of 66 PageID #:10615




           Count One: First Element—Membership in Conspiracy

      To be a member of a conspiracy, a defendant does not need to join it at the
beginning, and he does not need to know all of the other members or all of the means
by which the illegal goal of the conspiracy was to be accomplished. The government
must prove beyond a reasonable doubt that the defendant you are considering was
aware of the illegal goal of the conspiracy and knowingly joined the conspiracy.

      A defendant is not a member of a conspiracy just because he knew or associated
with people who were involved in a conspiracy, knew there was a conspiracy, or was
present during conspiratorial discussions.

      In deciding whether a defendant joined the charged conspiracy, you must base
your decision only on what the defendant did or said. To determine what that defend-
ant did or said, you may consider that defendant’s own words or acts. You may also
use the words or acts of other persons to help you decide what the defendant did or
said.




                                        26
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 27 of 66 PageID #:10616




  Count One: First Element—Definition of “Conduct or Participate in the
                            Conduct of”

       A person “conducts or participates in the conduct of” the affairs of an enterprise
if that person uses his position in, or association with, the enterprise to perform acts
that are involved in some way in the operation or management of the enterprise,
directly or indirectly, or if the person causes another to do so. In order to have con-
ducted or participated in the conduct of the affairs of an enterprise, a person need not
have participated in all of the activity alleged in Count One.

      A person conspires to conduct or participate in the conduct of the affairs of an
unlawful enterprise if that person agrees to knowingly facilitate the activities of the
operators or managers who conduct or participate in the conduct of its affairs. I will
now define knowingly.




                                           27
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 28 of 66 PageID #:10617




           Count One: First Element—Definition of “Knowingly”

      A person acts “knowingly” if he realizes what he is doing and is aware of the
nature of his conduct, and does not act through ignorance, mistake, or accident. In
deciding whether a defendant acted knowingly, you may consider all of the evidence,
including what the defendant did or said.




                                        28
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 29 of 66 PageID #:10618




Count One: First Element—Pattern Requirement—Racketeering Conspir-
                                acy

       In order to find a “pattern of racketeering activity” for purposes of Count One,
you must find beyond a reasonable doubt that the defendant you are considering
agreed that some members of the conspiracy would commit at least two of the acts of
racketeering as described in Count One, and that they were separate acts. You must
also find that those acts were in some way “related” to each other and that there was
“continuity” between them.

       Acts are “related” to each other if they are not isolated events, that is, if they
have similar purposes, or results, or participants, or victims, or are committed a sim-
ilar way, or have other similar distinguishing characteristics, or are part of the affairs
of the same enterprise.

       There is “continuity” between acts if, for example, they are ongoing over a sub-
stantial period of time, or had the potential to continue over a substantial period, or
if they are part of the regular way some entity does business or conducts its affairs.

      For purposes of Count One, the government does not have to prove that any
racketeering acts were actually committed at all, or that the defendant agreed to per-
sonally commit any such acts, or that the defendant agreed that two or more specific
acts would be committed.

        In this case, the only offense that is alleged to constitute an “act of racketeer-
ing” is wire fraud affecting a financial institution. No other offense can qualify as an
act of racketeering in this case.




                                           29
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 30 of 66 PageID #:10619




                   Count One: Second Element—Enterprise

      The term “enterprise” can include a group of people or legal entities associated
together for a common purpose of engaging in a course of conduct. This group may be
associated together for purposes that are both legal and illegal.

       In considering whether a group is an “enterprise,” you may consider whether
it has an ongoing organization or structure, either formal or informal, and whether
the various members of the group functioned as a continuing unit. A group may con-
tinue to be an “enterprise” even if it changes membership by gaining or losing mem-
bers over time.

      The government must prove that the group described in the indictment was
the “enterprise” charged but need not prove each and every allegation in the indict-
ment about the enterprise or the manner in which the enterprise operated. The gov-
ernment need not prove that the association had any form or structure beyond the
minimum necessary to conduct the charged pattern of racketeering.




                                         30
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 31 of 66 PageID #:10620




               Count One: Third Element—Interstate Commerce

       “Interstate commerce” includes the movement of money, goods, services or per-
sons from one state to another or between another country and the United States.
This would include the purchase or sale of goods or supplies to or from outside of New
York, the use of interstate mail or wire facilities, or causing the use of interstate mail
or wire facilities. If you find beyond a reasonable doubt that either (a) the charged
enterprise (that is, the JPMorgan Precious Metals Desk) made, purchased, sold, or
moved goods or services that had their origin or destination outside of New York; or
(b) the actions of the JPMorgan Precious Metals Desk affected in any degree the
movement of money, goods, or services across state lines, then interstate commerce
was engaged in or affected.

      The government need only prove that the JPMorgan Precious Metals Desk as
a whole engaged in interstate commerce or that its activity affected interstate com-
merce to any degree, although proof that racketeering acts did affect interstate com-
merce meets that requirement. The government need not prove that a defendant en-
gaged in interstate commerce, or that the acts of a defendant affected interstate com-
merce.




                                           31
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 32 of 66 PageID #:10621




Count Two: Conspiracy to Commit Price Manipulation, Wire Fraud Affect-
     ing a Financial Institution, Commodities Fraud, and Spoofing

      Count Two of the indictment charges the defendants with conspiracy to commit
price manipulation, wire fraud affecting a financial institution, commodities fraud,
and spoofing. In order for you to find the defendant you are considering guilty of this
charge, the government must prove each of the three following elements beyond a
reasonable doubt:

             1. The conspiracy as charged in Count Two existed;

             2. The defendant knowingly became a member of the conspiracy with an
      intent to advance the conspiracy; and

             3. One of the conspirators committed an overt act in an effort to advance
      one or more objective of the conspiracy.

       An t is any act done to carry out the goals of the conspiracy. The government
is not required to prove all of the overt acts charged in the indictment. The overt act
may itself be a lawful act.

      If you find from your consideration of all the evidence that the government has
proved each of these elements beyond a reasonable doubt, then you should find the
defendant that you are considering guilty.

      If, on the other hand, you find from your consideration of all the evidence that
the government has failed to prove any one of these elements beyond a reasonable
doubt, then you should find the defendant that you are considering not guilty.




                                          32
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 33 of 66 PageID #:10622




  Count Two: First and Second Elements – Definition of Conspiracy and
                     Membership in a Conspiracy

       I previously defined “conspiracy” and provided you with instructions on how to
decide whether a conspiracy existed and whether a defendant joined the conspiracy
(on pages 25 and 26 of these instructions). You will need to refer to and should follow
those instructions in your deliberations on Count Two of the indictment.




                                          33
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 34 of 66 PageID #:10623




    Count Two: First and Second Elements – Objects of the Conspiracy

       The objects of the conspiracy alleged in Count Two were to commit price ma-
nipulation, wire fraud affecting a financial institution, commodities fraud, and spoof-
ing. I will explain those crimes and their respective elements, which are charged in
Counts Three through Twenty-Seven of the indictment.




                                          34
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 35 of 66 PageID #:10624




    Count Two: First Element—Unanimity on Objects of the Conspiracy

       Count Two charges that each of the defendants was a member of a conspiracy
with four distinct objectives. The government is not required to prove that the de-
fendant you are considering agreed to pursue all four of the objectives alleged in
Count Two in order to prove that a conspiracy existed. However, the government is
required to prove beyond a reasonable doubt that the defendant you are considering
agreed to pursue at least one of these four objectives. To find that the government
has proven this, you must agree unanimously on which particular objective or objec-
tives the defendant agreed to pursue, as well as all of the other elements of the crime
charged.

      For example, if some of you were to find that the government has proved be-
yond a reasonable doubt that the defendant agreed to engage only in spoofing, and
the rest of you were to find that the government has proved beyond a reasonable
doubt that the defendant you are considering agreed to engage only in wire fraud,
then there would be no unanimous agreement as to which object of the conspiracy the
government has proved.

      On the other hand, if all of you were to find that the government has proved
beyond a reasonable doubt that the defendant you are considering agreed to engage
in spoofing, then there would be a unanimous agreement on which object of the con-
spiracy the government proved.




                                          35
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 36 of 66 PageID #:10625




         Count Two: Time Frame for Two Objects of the Conspiracy

       As I previously stated, the conspiracy charged in Count Two has four objec-
tives: price manipulation, wire fraud affecting a financial institution, commodities
fraud, and spoofing.

       However, because the specific commodities-fraud law charged in this case (and
described in these instructions starting on page 50 was not made effective by Con-
gress until May 20, 2009, there could be no conspiracy to violate that specific com-
modities-fraud law before that date. So if you find that the only proven objective of
the conspiracy charged in Count Two is commodities fraud, then in order to return a
verdict of guilty on that count, you would further need to find that the commodities-
fraud conspiracy existed after May 20, 2009, and that the defendant you are consid-
ering was a member of that conspiracy after May 20, 2009. In making those decisions,
you may consider conduct that happened before May 20, 2009, but limited solely to
the extent that the conduct directly explains the nature of any relationships, state of
mind, or conduct that happened after May 20, 2009. To repeat, however, if the com-
modities-fraud object is the only proven conspiracy for Count Two, then the govern-
ment is required to prove that the defendant you are considering was a member of
the alleged conspiracy after May 20, 2009.

       Similarly, because the specific spoofing law charged in this case (and described
in these instructions starting on page 58) was not made effective by Congress until
July 16, 2011, there could be no conspiracy to violate that specific spoofing law before
that date. So if you find that the only proven objective of the conspiracy charged in
Count Two is spoofing, then in order to return a verdict of guilty on that count, you
would further need to find that the spoofing conspiracy existed after July 16, 2011,
and that the defendant you are considering was a member of that conspiracy after
July 16, 2011. In making those decisions, you may consider conduct that happened
before July 16, 2011, but limited solely to the extent that the conduct directly explains
the nature of any relationships, state of mind, or conduct that happened after July
16, 2011. To repeat, however, if the spoofing object is the only proven conspiracy for
Count Two, then the government is required to prove that the defendant you are con-
sidering was a member of the alleged conspiracy after July 16, 2011.




                                           36
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 37 of 66 PageID #:10626




           Counts Three and Four: Attempted Price Manipulation

       Count Three charges Mr. Smith, and Count Four charges Mr. Nowak, with
attempted price manipulation. In order for you to find the defendant you are consid-
ering guilty of attempted price manipulation, the government must prove the follow-
ing two elements beyond a reasonable doubt:

          1. The defendant intended to create an artificial price for a commodity or
          for a contract for a commodity for future delivery; and
          2. The defendant knowingly took a substantial step toward creating an ar-
          tificial price for a commodity or for a contract for a commodity for future
          delivery.

       If you find from your consideration of all of the evidence that the government
has failed to prove either of these elements beyond a reasonable doubt with respect
to the defendant you are considering, then you should find that defendant not guilty
on the applicable count of the indictment.

       If, on the other hand, you find from your consideration of all the evidence that
the government has proved both of these elements beyond a reasonable doubt with
respect to the defendant you are considering, then you should find that defendant
guilty on the applicable count of the indictment.




                                          37
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 38 of 66 PageID #:10627




Counts Three and Four: First Element—Intent to Create an Artificial Price

       A person acts with the “intent to create an artificial price” if he had the purpose
or conscious object of causing or effecting a price or price trend in the market that did
not reflect the actual forces of supply and demand.




                                           38
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 39 of 66 PageID #:10628




         Counts Three and Four: Second Element—Substantial Step

        A person attempts to commit price manipulation if he (1) knowingly takes a
substantial step toward creating an artificial price with (2) the intent to create an
artificial price. The substantial step must be an act that strongly corroborates that
the defendant you are considering intended to create the artificial price.




                                         39
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 40 of 66 PageID #:10629




                Counts Three and Four: Timing Requirement

      Count Three Trading Sequences—Mr. Smith

      In order for you to find Mr. Smith guilty of attempted price manipulation as
charged in Count Three, the government must prove beyond a reasonable doubt that
he committed each of the elements of attempted price manipulation in at least one
trading sequence in Paragraphs 30(n)–30(q), that is, in at least one trading sequence
that happened on or after February 1, 2014. In addition, you must agree unanimously
on which particular trading sequence is the basis for a guilty verdict.

      Count Four Trading Sequences—Mr. Nowak

      In order for you to find Mr. Nowak guilty of attempted price manipulation as
charged in Count Four, the government must prove beyond a reasonable doubt that
he committed each of the elements of attempted price manipulation in at least one
trading sequence in Paragraphs 31(n) or 31(o), that is, in at least one trading se-
quence that happened on or after February 1, 2014. In addition, you must agree unan-
imously on which particular trading sequence is the basis for a guilty verdict.




                                         40
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 41 of 66 PageID #:10630




Counts Five Through Twenty-Two: Wire Fraud Affecting a Financial Insti-
                              tution

       Counts Five through Twelve of the indictment charge Mr. Smith with wire
fraud affecting a financial institution. Counts Thirteen through Twenty-Two of the
indictment charge Mr. Nowak with wire fraud affecting a financial institution. In
order for you to find the defendant you are considering guilty on a count charging
wire fraud affecting a financial institution, the government must prove each of the
following five elements beyond a reasonable doubt as to that count:

          1. The defendant knowingly devised or participated in a scheme to defraud,
             as charged in the particular count of the indictment;
          2. The defendant did so with the intent to defraud;
          3. The scheme to defraud involved a materially false or fraudulent pre-
             tense, representation, or promise;
          4. For the purpose of carrying out the scheme or attempting to do so, the
             defendant caused interstate or international wire communications to
             take place in the manner charged in the particular count; and
          5. The scheme affected a financial institution.

      As you have heard, the parties have entered into a stipulation as to the fifth
 elements.

       If you find from your consideration of all the evidence, including the parties’
stipulations, that the government has proved each of these elements beyond a rea-
sonable doubt, then you should find the defendant you are considering guilty as to
that count.

      If, on the other hand, you find from your consideration of all the evidence that
the government has failed to prove any one of these elements beyond a reasonable
doubt, then you should find the defendant you are considering not guilty of that count.




                                          41
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 42 of 66 PageID #:10631




 Counts Five Through Twenty-Two: First Element – Definition of “Know-
                              ingly”

       I previously defined “knowingly” (on page 28 of these instructions). These in-
structions apply equally to Counts Five through Twenty-Two.




                                         42
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 43 of 66 PageID #:10632




 Counts Five Through Twenty-Two: First Element—Definition of “Scheme
                            to Defraud”


      A scheme is a plan or course of action formed with the intent to accomplish
some purpose.

       A “scheme to defraud” is a scheme that (1) is intended to deceive or cheat an-
other and (2) is intended to obtain money or property from the alleged victims or
cause the potential loss of money or property to the alleged victims by means of ma-
terially false or fraudulent pretenses, representations, or promises.

     A materially false or fraudulent pretense, representation, or promise may be
accomplished by an omission or the concealment of material information.




                                         43
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 44 of 66 PageID #:10633




      Counts Five Through Twenty-Two: First Element—Proof of Scheme
       In considering whether the government has proven a scheme to defraud, the
government must prove that one or more of the false or fraudulent pretenses, repre-
sentations, or promises charged in the part of the indictment describing the scheme
be proved beyond a reasonable doubt. The government, however, is not required to
prove all of them. However, to find that the government has proven this element, you
must agree unanimously on which particular false or fraudulent pretense, represen-
tation, or promise that the defendant made.

      In addition, for Mr. Smith, the government must prove beyond a reasonable
doubt that he devised or participated in a scheme to defraud that existed after Feb-
ruary 1, 2009.

      Likewise, for Mr. Nowak, the government must prove beyond a reasonable
doubt that he devised or participated in a scheme to defraud that existed after Feb-
ruary 1, 2009.




                                        44
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 45 of 66 PageID #:10634




    Counts Five Through Twenty-Two: Definition of “Intent to Defraud”

      A person acts with “intent to defraud” if he acts knowingly with the intent to
deceive or cheat the alleged victim in order to obtain money or property from the
alleged victim or to cause the potential loss of money or property to the alleged victim.




                                           45
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 46 of 66 PageID #:10635




  Counts Five Through Twenty-Two: Third Element—Materially False or
            Fraudulent Pretense, Representation, or Promise
      A false or fraudulent pretense, representation, promise, omission, or conceal-
ment is “material” if it has a natural tendency to influence the decision of the alleged
victim to whom it was addressed.

       It is not necessary that the false or fraudulent pretense, representation, prom-
ise, omission, or concealment actually have that influence or be relied on by the al-
leged victim, as long as it is has the natural tendency to do so.




                                          46
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 47 of 66 PageID #:10636




                              Success Not Required

       The wire fraud statute can be violated whether or not there is any loss or dam-
age to the victim of the crime or gain to the defendant.

      The government need not prove that the scheme to defraud actually succeeded.




                                         47
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 48 of 66 PageID #:10637




Counts Five Through Twenty-Two: Fourth Element—Wire Communication

     Electronic order messages, telephone calls, e-mails, instant messages, text
messages, and electronic filing of documents, as alleged in Counts Five through
Twenty-Two, constitute transmissions by means of wire communication.

       As you have heard, the parties have entered into a stipulation that relates to
this fourth element.




                                         48
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 49 of 66 PageID #:10638




                   Use of Interstate Communication Facility

         The government must prove that interstate or international communication
 facilities were used to carry out the scheme, or were incidental to an essential part
 of the scheme.

        In order to cause interstate or international wire communications to take
 place, a defendant need not actually intend that use to take place. You must find
 that the defendant knew this use would actually occur, or that the defendant knew
 that it would occur in the ordinary course of business, or that the defendant knew
 facts from which that use could reasonably have been foreseen. However, the gov-
 ernment does not have to prove that a defendant knew that the wire communication
 was of an interstate or international nature.

     The defendant need not actually or personally use interstate or international
 communication facilities.

        Although an item communicated interstate or internationally need not itself
 contain a fraudulent representation or promise or a request for money, it must carry
 out or attempt to carry out the scheme.

       In connection with whether a wire transmission was made, you may consider
 evidence of the habit or the routine practice of an organization.

       As you have heard, the parties have entered into a stipulation that relates to
this fourth element.




                                         49
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 50 of 66 PageID #:10639




         Counts Twenty-Four and Twenty-Five: Commodities Fraud

       Count Twenty-Four of the indictment charges Mr. Smith, and Count Twenty-
Five charges Mr. Nowak, with commodities fraud. In order for you to find the defend-
ant you are considering guilty of this charge, the government must prove each of the
four following elements beyond a reasonable doubt:

      1. The defendant knowingly devised or participated in a scheme to defraud,
         as described in the particular count of the indictment; and

      2. The defendant did so with the intent to defraud; and

      3. The scheme to defraud involved a materially false or fraudulent pretense,
         representation, or promise; and

      4. The scheme to defraud was in connection with a commodity for future de-
         livery.

      If you find from your consideration of all the evidence that the government has
proved each of these elements beyond a reasonable doubt as to the charge you are
considering, then you should find the defendant you are considering guilty of that
charge.

      If, on the other hand, you find from your consideration of all the evidence that
the government has failed to prove any one of these elements beyond a reasonable
doubt as to the defendant you are considering, then you should find that defendant
not guilty of that charge.




                                         50
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 51 of 66 PageID #:10640




     Counts Twenty-Four and Twenty-Five: Unanimity of Specific Acts

       Count Twenty-Four charges Mr. Smith with committing commodities fraud be-
tween May 20, 2009, and June 2015. The government is not required to prove that
the defendant made every one of the alleged misrepresentations in Count Twenty-
Four. However, the government is required to prove that the defendant made at least
one of the alleged misrepresentations in Count Twenty-Four. To find that the govern-
ment has proven this, you must agree unanimously on which particular misrepresen-
tation that the defendant made, as well as all on the other elements of the crime
charged.

       Count Twenty-Five charges Mr. Nowak with committing commodities fraud
between May 20, 2009, and April 2014. The government is not required to prove that
the defendant made every one of the alleged misrepresentations in Count Twenty-
Five. However, the government is required to prove that the defendant made at least
one of the alleged misrepresentations in Count Twenty-Five. To find that the govern-
ment has proven this, you must agree unanimously on which particular misrepresen-
tation that the defendant made, as well as all on the other elements of the crime
charged.

       Relevant Date Considerations for Counts Twenty-Four and Twenty-
                                         Five
      In order for you to find the defendant you are considering guilty of commodities
fraud as charged in Counts Twenty-Four and Twenty-Five, you must find that the
defendant engaged in the crime in at least one of the trading sequences on or after
February 1, 2013.




                                         51
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 52 of 66 PageID #:10641




  Counts Twenty-Four and Twenty-Five: Second Element—Intent to De-
                         fraud; Knowingly

     I previously defined “intent to defraud” (on page 45 of these instructions) and
“knowingly” (on page 28). These definitions apply equally to commodities fraud.




                                        52
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 53 of 66 PageID #:10642




Counts Twenty-Four and Twenty-Five: Third Element – Materially False or
           Fraudulent Pretense, Representation, or Promise

       I previously provided you an instruction on what it means for a false or fraud-
ulent pretense, representation, or promise to be material (on page 46) of these in-
structions). That instruction applies equally to commodities fraud.




                                         53
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 54 of 66 PageID #:10643




                       Definition of “Scheme to Defraud”

       I previously provided you instructions on the definition of “scheme to defraud”
(on page 43 of these instructions). These instructions apply equally to commodities
fraud.




                                         54
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 55 of 66 PageID #:10644




   Counts Twenty-Four and Twenty-Five: Fourth Element—Commodity

       A “commodity” is a good or resource that is fungible, meaning that at a given
point in time, the market treats all equivalent quantities of the good or resource as
having equal or near-equal value.

       A scheme to defraud is in connection with any commodity for future delivery if
it coincided with or touched upon a commodity futures transaction.




                                         55
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 56 of 66 PageID #:10645




                             Success Not Required

      The commodities fraud statute can be violated whether or not there is any loss
or damage to the victim of the crime or gain to the defendant.

      The government need not prove that the scheme to defraud actually succeeded.




                                        56
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 57 of 66 PageID #:10646




   Wire Fraud and Commodities Fraud Distinguished from Spoofing and
                          Rules Violations

      You have heard evidence of compliance policies issued by JPMorgan Chase and
evidence of rules issued by the CME and the CFTC. You have also heard evidence
about a practice called spoofing, which is defined as placing an order to buy or sell
with the unconditional intent to cancel the order before it is filled.

       Even if there is evidence that a defendant violated any compliance policies,
CME rules, or CFTC rules, that violation would not, standing alone, be sufficient to
convict a Defendant. A bank’s compliance policies, the rules of the CME, and the rules
of the CFTC are not necessarily the same as federal law governing the alleged crimi-
nal offenses. So even if you were to find that a Defendant violated a compliance policy
or rule, that does not necessarily mean that there was a violation of the law. Addi-
tionally, evidence that a defendant engaged in spoofing, standing alone, is not suffi-
cient to convict the defendant you are considering as charged in Counts One through
Twenty-Five.

       These instructions that I am giving to you comprise the federal law that you
are to apply. You must apply the law I have given you and the government must prove
violations of these laws beyond a reasonable doubt.




                                          57
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 58 of 66 PageID #:10647




         Counts Twenty-Six and Twenty-Seven: Spoofing—Elements

      Count Twenty-Six charges Mr. Smith with spoofing from July 16, 2011, until
June 2015. Count Twenty-Seven charges Mr. Nowak with spoofing from July 16,
2011, until April 2014.

     In order for you to find a defendant guilty of a charge of spoofing, the Govern-
ment must prove the following two elements beyond a reasonable doubt:

          1. The defendant engaged in any trading, practice, or conduct, on and sub-
             ject to the rules of CME Group’s Commodities Exchanges (that is,
             COMEX and NYMEX), that was spoofing; and

          2. The defendant acted knowingly.

       In order for you to find the defendant guilty of spoofing, the Government must
prove beyond a reasonable doubt that, at the time the defendant entered the bids or
offers specified in the Count, he had the unconditional purpose to cancel the entire
bid or offer before it was executed. It is not sufficient for the Government to prove
only that the defendant knew or should have known that the consequence – that is,
cancellation of the bid or offer before execution – was substantially likely to occur.

       The government must also prove beyond a reasonable doubt that the defendant
did not place the bid or offer as part of a legitimate, good-faith attempt to execute at
least part of that bid or offer.

      If you find from your consideration of all the evidence that the government has
proved each of these elements beyond a reasonable doubt, then you should find the
defendant you are considering guilty on the applicable count.

       If, on the other hand, you find from your consideration of all of the evidence
that the government has failed to prove any one of these elements beyond a reasona-
ble doubt, then you should find the defendant you are considering not guilty on the
applicable count.




                                          58
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 59 of 66 PageID #:10648




        Counts Twenty-Six and Twenty-Seven: Definition of Spoofing

       “Spoofing” is the practice of bidding or offering with, at the time that the order
was placed, the unconditional intent to cancel the bid or offer before execution. In
order for you to find the defendant you are considering guilty of spoofing, the govern-
ment must prove beyond a reasonable doubt that, at the time the defendant entered
the bids or offers specified in the particular Count, he had the purpose to cancel the
entire bid or offer before it was executed. It is not sufficient for the government to
prove only that the consequence—that is, cancellation of the bid or offer before exe-
cution—was substantially likely to occur.

      The government must prove beyond a reasonable doubt that the defendant you
are considering did not place, the bid or offer as part of a legitimate, good-faith at-
tempt to execute at least part of that bid or offer.




                                           59
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 60 of 66 PageID #:10649




                            Definition of Knowingly

       I previously defined “knowingly” (on page 28 of these instructions). These in-
structions apply equally to Counts Twenty-Six and Twenty-Seven.




                                         60
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 61 of 66 PageID #:10650




 Relevant Date Considerations for Counts Twenty-Six and Twenty-Seven

      Count Twenty-Six Trading Sequences – Mr. Smith

       In order for you to find Mr. Smith guilty of spoofing as charged in Count
Twenty-Six, you must find that the defendant committed the crime in at least one of
the trading sequences that happened on or after February 1, 2014, specifically the
sequences in Paragraphs 30(n) through 30(q). In addition, you must agree unani-
mously on which particular trading sequence is the basis for your guilty verdict.

      County Twenty-Seven Trading Sequences – Mr. Nowak

       In order for you to find Mr. Nowak guilty of spoofing as charged in Count
Twenty-Seven, you must find that the defendant committed the crime in at least one
of the trading sequences that happened on or after February 1, 2014, specifically the
sequences in Paragraphs 31(n) or 31(o). In addition, you must agree unanimously on
which particular trading sequence is the basis for your guilty verdict.




                                         61
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 62 of 66 PageID #:10651




                         CFTC and CME Investigations

       You have heard evidence of a separate civil investigation by the U.S. Commod-
ity Futures Trading Commission (CFTC) into complaints about silver prices. You
have also heard evidence of a separate civil investigation by the Chicago Mercantile
Exchange (CME) on spoofing. The CFTC and CME’s separate investigations were not
part of the Department of Justice’s investigation that led to the prosecution in this
case, and the complaints about silver prices are not at issue in this case. For your
background information, the CFTC and CME closed the inquiries without bringing
claims against any company or person. You should not otherwise consider the conclu-
sion of these investigations in your deliberations

       I have given you the federal law that you are to apply in these instructions.
You must apply the law I have given you and the government must prove violations
of those laws beyond a reasonable doubt.




                                         62
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 63 of 66 PageID #:10652




                                   Punishment

      In deciding your verdict, you should not consider the possible punishment for
the defendants who are on trial. If you decide that the government has proved a de-
fendant guilty beyond a reasonable doubt, then it will be my job to decide on the ap-
propriate punishment.




                                         63
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 64 of 66 PageID #:10653




                                Jury Deliberations

      Once you are all in the jury room, the first thing you should do is choose a
foreperson. The foreperson should see to it that your discussions are carried on in an
organized way and that everyone has a fair chance to be heard. You may discuss the
case only when all jurors are present.

       Once you start deliberating, do not communicate about the case or about your
deliberations with anyone except other members of your jury. You may not communi-
cate with others about the case or your deliberations by any means. This includes oral
or written communication, as well as any electronic method of communication, such
as telephone, cell phone, smart phone, iPhone, computer, text messaging, instant
messaging, the Internet, chat rooms, blogs, websites, or services like Facebook, In-
stagram, TikTok, Snapchat, LinkedIn, YouTube, Twitter, or any other method of com-
munication.

       If you need to communicate with me while you are deliberating, send a note
through the Court Security Officer. The note should be signed by the foreperson, or
by one or more members of the jury. To have a complete record of this trial, it is
important that you do not communicate with me except by a written note. I may have
to talk to the lawyers about your message, so it may take me some time to get back
to you. You may continue your deliberations while you wait for my answer. Please be
advised that transcripts of trial testimony are not available to you. You must rely on
your collective memory of the testimony.

      If you send me a message, do not include the breakdown of any votes you may
have conducted. In other words, do not tell me that you are split 6–6, or 8–4, or what-
ever your vote happens to be.




                                          64
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 65 of 66 PageID #:10654




                                    Verdict Forms

       Verdict forms have been prepared for you. You will take these forms with you
to the jury room.

      [Read the verdict forms.]

       When you have reached unanimous agreement, your foreperson will fill in,
date, and sign the verdict forms. Each of you will sign them.

      Advise the Court Security Officer once you have reached a verdict. When you
come back to the courtroom, I will read the verdict aloud.




                                        65
 Case: 1:19-cr-00669 Document #: 647 Filed: 07/26/22 Page 66 of 66 PageID #:10655




                    Unanimity/Disagreement Among Jurors

      The verdict must represent the considered judgment of each juror. Your verdict
on each count, whether it is not guilty or guilty, must be unanimous.

       You should make every reasonable effort to reach a verdict. In doing so, you
should consult with each other, express your own views, and listen to your fellow
jurors’ opinions. Discuss your differences with an open mind. Do not hesitate to re-
examine your own view and change your opinion if you come to believe it is wrong.
But you should not surrender your honest beliefs about the weight or effect of evi-
dence just because of the opinions of your fellow jurors or just so that there can be a
unanimous verdict.

       All of you should give fair and equal consideration to all the evidence. You
should deliberate with the goal of reaching an agreement that is consistent with the
individual judgment of each juror.

     You are the impartial judges of the facts. Your sole interest is to determine
whether the government has proved its case beyond a reasonable doubt.




                                          66
